934 F.2d 318Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Timothy E. FINLEY, Petitioner-Appellant,v.Parker EVATT, Commissioner, South Carolina Department ofCorrections, Attorney General of South Carolina,Respondents-Appellees.
    No. 91-6766.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 18, 1991.Decided June 4, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Falcon B. Hawkins, Chief District Judge.  (CA-90-515-1J)
      Theo Walker Mitchell, Mitchell &amp; Associates, Greenville, S.C., for appellant.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, S.C., for appellees.
      D.S.C.
      DISMISSED.
      Before SPROUSE and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Timothy E. Finley seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Finley v. Evatt, CA-90-515-1J (D.S.C. Jan. 9, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    